         Case 4:13-cv-02073-KOB Document 21 Filed 09/29/14 Page 1 of 1                           FILED
                                                                                        2014 Sep-29 PM 01:13
                                                                                        U.S. DISTRICT COURT
                                                                                            N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          MIDDLE DIVISION

BRENDA M. MURGATROYD,                        }
                                             }
       Plaintiff,                            }
                                             }
v.                                           }                  4:13-cv-2073-KOB
                                             }
BANK OF AMERICA NA,                          }
                                             }
       Defendant.                            }



                                 ORDER OF DISMISSAL

       The court, having been advised that a settlement has been reached, DISMISSES this case

WITHOUT PREJUDICE to reinstatement if any party represents to the court on or before

December 1, 2014, that final settlement documentation could not be completed.

       DONE and ORDERED this 29th day of September, 2014.



                                                 ____________________________________
                                                 KARON OWEN BOWDRE
                                                 CHIEF UNITED STATES DISTRICT JUDGE
